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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION

    ULTRAVISION TECHNOLOGIES, LLC,                 §
                                                   §
          Plaintiff,                               §
                                                   §
    v.                                             §
                                                            Case No. 2:18-cv-00100-JRG-RSP
                                                   §
    GOVISION, LLC,                                 §
                                                   §
          Defendant.                               §

                                               ORDER

          Defendants Shenzhen Absen Optoelectronic Co., Ltd. and Absen, Inc. (collectively,

   “Absen”) previously filed a Motion for Leave to Supplement Invalidity Contentions (Dkt. No.

   411) and motions in limine (Dkt. No. 605.) Plaintiff Ultravision Technologies, LLC also filed

   motions in limine (Dkt. No. 603.) Magistrate Judge Payne entered an Order Memorializing Orders

   on Motions in Limine (“In Limine Order”) (Dkt. No. 646), denying Absen’s Motion for Leave to

   Supplement Invalidity Contentions and memorializing rulings on motions in limine. Absen has
       .
   now filed Objections (Dkt. No. 658.)

          After reviewing the briefing on the Motion for Leave to Supplement Invalidity

   Contentions, the In Limine Order, and the briefing on Absen’s Objections, the Court agrees with

   the reasoning provided within the In Limine Order and concludes that the Objections fail to show

   that the In Limine Order was clearly erroneous or contrary to law.

          Consequently, the Court OVERRULES Absen’s Objections (Dkt. No. 658).

          So ORDERED and SIGNED this 1st day of June, 2021.




                                                            ____________________________________
                                                            RODNEY GILSTRAP
                                                            UNITED STATES DISTRICT JUDGE
